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                               Exhibit G
United States of America ex rel. Ven-a-Care of the Florida Keys, Inc. v. Dey, Inc., et al.,
                           Civil Action No. 05-11084-PBS

        Exhibit to Plaintiff’s Memorandum In Support of United States’ Motion
             In Limine Regarding Testimony of Raymond C. Winter and
                          Sequencing of Deposition Testimony
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00527

  1                        CAUSE NO. GV002327

  2     THE STATE OF TEXAS             )IN THE DISTRICT COURT
        EX REL.                        )
  3         VEN-A-CARE OF THE          )
            FLORIDA KEYS, INC.,        )
  4              PLAINTIFFS,           )
                                       )
  5     VS.                            )TRAVIS COUNTY, TEXAS
                                       )
  6     DEY, INC.; ROXANE              )
        LABORATORIES, INC.; WARRICK    )
  7     PHARMACEUTICALS CORPORATION;   )
        SCHERING-PLOUGH CORPORATION;   )
  8     SCHERING CORPORATION;          )
        LIPHA, S.A.; MERCK-LIPHA, S.A.;)
  9     MERCK, KGAA; AND EMD           )
        PHARMACEUTICALS, INC.,         )
 10              DEFENDANTS.           )53RD JUDICIAL DISTRICT

 11         ********************************************
        ORAL AND VIDEOTAPED DEPOSITION OF
 12
        CHARLES A. RICE
 13     VOLUME III

 14     MARCH 24TH, 2003
            ********************************************
 15              ORAL AND VIDEOTAPED DEPOSITION OF

 16     CHARLES A. RICE, PRODUCED AS A WITNESS AT THE INSTANCE

 17     OF THE STATE OF TEXAS AND DULY SWORN, WAS TAKEN IN THE

 18     ABOVE-STYLED AND NUMBERED CAUSE ON THE 24TH OF MARCH,

 19     2003, FROM 8:11 A.M. TO 6:08 P.M., BEFORE

 20     DEBRA L. SIETSMA, CSR IN AND FOR THE STATE OF TEXAS,

 21     REPORTED BY MACHINE SHORTHAND, AT THE OFFICES OF

 22     FLECKMAN & MCGLYNN, P.L.L.C., 515 CONGRESS,

 23     SUITE 1800, AUSTIN, TEXAS, PURSUANT TO THE TEXAS RULES

 24     OF CIVIL PROCEDURE AND THE PROVISIONS AS PREVIOUSLY

 25     SET FORTH.
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00528

  1     A P P E A R A N C E S

  2

  3     FOR THE PLAINTIFF, STATE OF TEXAS:

  4              MR. PATRICK J. O'CONNELL,
                 MR. RAYMOND C. WINTER
  5              OFFICE OF THE ATTORNEY GENERAL
                 STATE OF TEXAS
  6              POST OFFICE BOX 12548
                 AUSTIN, TEXAS 78711-2548
  7
        FOR THE RELATOR, VEN-A-CARE OF THE FLORIDA KEYS, INC.:
  8
                 MR. JAMES JOSEPH BREEN
  9              THE BREEN LAW FIRM, P.A.
                 P.O. BOX 297470
 10              PEMBROKE PINES, FLORIDA 33029-7470

 11                   - AND -

 12              MR. JOHN E. CLARK (OF COUNSEL)
                 GOODE CASSEB JONES RIKLIN
 13                CHOATE & WATSON, P.C.
                 2122 NORTH MAIN AVENUE
 14              P.O. BOX 120480
                 SAN ANTONIO, TEXAS 78212-9680
 15
        FOR DEFENDANT DEY, INC.:
 16
                 MR. STEPHEN M. HUDSPETH
 17              MR. DARRELL PRESCOTT
                 COUDERT BROTHERS
 18              1114 AVENUE OF THE AMERICAS
                 NEW YORK, NEW YORK 10036-7703
 19
                      - AND -
 20
                 MR. STEVEN A. FLECKMAN
 21              FLECKMAN & MCGLYNN, P.L.L.C.
                 515 CONGRESS AVENUE, SUITE 1800
 22              AUSTIN, TEXAS 78701-3503

 23

 24

 25
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00529

  1     FOR DEFENDANT ROXANE LABORATORIES, INC.:

  2              MR. R. ERIC HAGENSWOLD
                 MR. STEVEN J. WINGARD
  3              SCOTT, DOUGLASS & MCCONNICO, L.L.P.
                 ONE AMERICAN CENTER, FIFTEENTH FLOOR
  4              600 CONGRESS AVENUE
                 AUSTIN, TEXAS 78701
  5
        FOR DEFENDANTS WARRICK PHARMACEUTICALS CORPORATION,
  6     SCHERING-PLOUGH CORPORATION AND SCHERING CORPORATION:

  7              MR. C. MICHAEL MOORE
                 LOCKE LIDDELL & SAPP, L.L.P.
  8              2200 ROSS AVENUE, SUITE 2200
                 DALLAS, TEXAS 75201-6776
  9
        FOR THE UNITED STATES DEPARTMENT OF JUSTICE:
 10
                 MR. ANDY J. MAO
 11              TRIAL ATTORNEY, CIVIL DIVISION
                 P.O. BOX 261
 12              BEN FRANKLIN STATION
                 WASHINGTON, DC 20044
 13
        ALSO PRESENT:
 14              MR. ZACHARY TAYLOR BENTLEY, II
                 MR. BRIAN BOBBITT, VIDEOGRAPHER
 15

 16

 17

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00760

  1     Q.   THIS IS THE UNIT-DOSE ALBUTEROL, CORRECT?

  2     A.   NO, SIR.    THIS IS MULTIDOSE.

  3     Q.   THIS IS MULTIDOSE.     I'M SORRY.

  4     A.   YES, SIR.

  5     Q.   OKAY.    HAVE YOU EVER SEEN THIS DOCUMENT

  6     BEFORE?

  7     A.   I DON'T THINK I DID.

  8     Q.   WELL, IF YOU LOOK AT THE SECOND PARAGRAPH,

  9     YOU'LL SEE IN THE MIDDLE HE SAYS, "IN ADDITION, WE

 10     INCLUDED THE MULTIDOSE TO UNIT-DOSE CONVERSION REPRINT

 11     AND WORKSHEET AND A RETAIL PROFIT GAIN WORKSHEET.        WE

 12     USED BOTH SUCCESSFULLY LAST YEAR.        REFAMILIARIZE

 13     YOURSELVES WITH THESE TWO PIECES SO THAT THEY CAN WORK

 14     TO YOUR ADVANTAGE AGAIN.     THESE PIECES SHOULD

 15     REINFORCE THE IMPORTANCE OF OUR UNIT-DOSE BUSINESS AND

 16     ALSO HELP YOU STRATEGIZE WHERE TO PICK UP MULTIDOSE

 17     BUSINESS.    LET US NOT FORGET THAT UNIT DOSE SHOULD

 18     REMAIN OUR TOP PRIORITY," AND THAT'S UNDERLINED.

 19     DO YOU SEE THAT?

 20     A.   YES, SIR, I SEE IT.

 21     Q.   AND THEN IF YOU'LL GO TO THE -- ABOUT HALFWAY

 22     THROUGH THE STACK, AND IT'S BATES-STAMPED

 23     DL-TX-0076254, YOU'LL SEE A COPY OF THE REIMBURSEMENT

 24     COMPARISON WORKSHEET --

 25     A.   YES, SIR.     THAT'S MARKED HERE.
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00761

  1     Q.    -- THAT MR. GALLES IS REFERRING TO IN THE

  2     MEMO ON FRONT.

  3     DO YOU SEE THAT?

  4     A.    YES, SIR.

  5     Q.    NOW, WAS MR. GALLES INFORMING YOUR SALES

  6     REPRESENTATIVES AND YOUR MARKETING REPRESENTATIVES

  7     ABOUT DEY'S MARKETING AND SALES POLICIES IN THIS

  8     MEMORANDUM?

  9     A.    AGAIN, MARKETING AND SALES POLICIES WE HAVE

 10     VERY, VERY FEW OF.      I DON'T SEE ANYTHING HERE THAT WAS

 11     RELATED TO POLICY.

 12     Q.    OKAY.   WELL, WHAT IS THIS RELATED TO, FROM

 13     YOUR PERSPECTIVE AS THE PRESIDENT?

 14     A.    THIS IS A MINI MARKETING PLAN, AND IT APPEARS

 15     TO INCLUDE THE -- THE SUSPECT UNIT-DOSE CONVERSION AND

 16     THE RETAIL PROFIT GAIN WORKSHEETS WHICH WE'VE TALKED

 17     ABOUT ON PREVIOUS OCCASIONS.

 18     Q.    OKAY.   AND THIS IS THE REIMBURSEMENT

 19     COMPARISON WORKSHEET THAT YOU WOULD NOT HAVE CONDONED

 20     THE USE OF?

 21     A.    ABSOLUTELY NOT.     I WOULD NOT HAVE CONDONED

 22     IT.

 23     Q.    ARE YOU AWARE THAT -- THAT -- THAT ROBERT

 24     MOZAK TESTIFIED THAT THIS IS THE VERY TYPE OF PLAN

 25     THAT WOULD HAVE BEEN IMPLEMENTED ONLY IF YOU APPROVED
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00762

  1     IT?

  2     MR. FLECKMAN:      OBJECTION, FORM.

  3     THE WITNESS:      NO, SIR, I'M NOT AWARE

  4     THAT HE TESTIFIED TO THAT.

  5     Q.    (BY MR. BREEN)     DID YOU APPROVE MR. GALLES'

  6     ARTICULATION OF THE MINI MARKETING PLAN DATED

  7     MARCH 4TH, 1996?

  8     A.    I'M NOT AWARE THAT I APPROVED IT.     I'M NOT

  9     AWARE THAT I EVEN SAW IT WHEN IT WENT INTO EFFECT.

 10     Q.    WELL, YOU KNEW TODD GALLES, CORRECT?

 11     A.    YES, SIR.

 12     Q.    BRUCE TIPTON?

 13     A.    YES, SIR.

 14     Q.    RICK UPP?

 15     A.    YES, SIR.

 16     Q.    ROSS UHL?

 17     A.    YES, SIR.

 18     Q.    AND BOB MOZAK?

 19     A.    THAT'S CORRECT.     I DID KNOW ALL OF THOSE

 20     PEOPLE.

 21     Q.    AND WOULD YOU HAVE REASON TO BE DOUBT THE

 22     TRUTHFULNESS OF ANY OF THOSE PEOPLE?

 23     MR. FLECKMAN:      OBJECTION, FORM.

 24     THE WITNESS:      THAT'S A DIFFICULT

 25     QUESTION TO ASK.
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00763

  1     MR. BREEN:     ALL RIGHT.     WELL, LET ME --

  2     LET ME WITHDRAW THE QUESTION.           IT'S NOT A -- LET ME

  3     JUST ASK -- ASK THIS QUESTION.

  4     Q.      (BY MR. BREEN)     IF EACH OF THOSE INDIVIDUALS

  5     WERE -- WERE TO TESTIFY THAT YOU APPROVED THE

  6     MULTIDOSE TO UNIT-DOSE CONVERSION MARKETING THROUGH

  7     THIS REIMBURSEMENT COMPARISON, WOULD YOU DISAGREE WITH

  8     THAT?

  9     A.      YES, SIR.

 10     Q.      THEN HOW COULD DEY'S SALESPEOPLE HAVE BEEN

 11     USING THIS REIMBURSEMENT CONVERSION WORKSHEET, TRYING

 12     TO CONVINCE CUSTOMERS TO BUY DEY'S UNIT DOSE RATHER

 13     THAN WARRICK'S MULTIDOSE BASED UPON REIMBURSEMENT

 14     SPREAD OVER AND OVER AGAIN IF YOU, AS THE PRESIDENT,

 15     WERE TOTALLY UNAWARE OF IT?

 16     MR. FLECKMAN:        OBJECTION, FORM.

 17     THE WITNESS:        I DON'T THINK THE

 18     PRESIDENCY OF -- OF THE COMPANY CAN BE AWARE OF

 19     EVERYTHING THAT GOES ON IN THE COMPANY.             I'D LIKE TO

 20     THINK THAT THEY COULD, BUT I CAN TELL YOU THAT I

 21     DIDN'T APPROVE OF THIS PROCESS.           I WOULD NOT CONDONE

 22     IT, AND I WOULD NOT CONDONE IT TODAY.

 23     MR. BREEN:     OKAY.     ALL RIGHT.     WE'VE GOT

 24     TO CHANGE A TAPE IN A FEW MINUTES.           WE'VE BEEN GOING

 25     FOR A WHILE.        DO YOU WANT TO TAKE THAT BREAK, BECAUSE
